 

AO 91 (Rev. 08/09) Criminal Complaint f t | E

UNITED STATES DISTRICT COURT
for the JUL 17 ggzq

Northern District of Oklahoma ifiark C. Mcc
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Case No. AO 1M AVY = pyc

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United States of America
Vv.

RANDY JAMES SHELL

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Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of 07/17/2020 in the county of Tulsa in the

 

Northern District of Oklahoma, the defendant(s) violated:

Code Section Offense Description
18 U.S.C. §§ 1151, 1153, and 113 Assault by Strangulation
(a)(8), and

18 U.S.C. §§ 1151, 1153, and 1201 ——- Kidnapping
(a)(2)

This criminal complaint is based on these facts:
See Attached Affidavit

@ Continued on the attached sheet.

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Complainant's signature

Christopher McCarthy, Special Agent
b Printed name and title
Sworn to before me and Tas présence. My,
x.

Date: Up [9030

City andstate: = ==—s——CisTTula, OK

 

 

  
   

 

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eary United States Magistrate Judge
Printed name and title
AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT IN THE NORTHERN

AFFIDAVIT IN SUPPOR) OO ——eE_———E———Orer

DISTRICT OF OKLAHOMA

 

I, Christopher McCarthy being duly sworn under oath, do hereby depose and state:
INTRODUCTION

1. I have been employed as a Special Agent of the Federal Bureau of
Investigation (FBI) in Tulsa, Oklahoma, since November 2019. As a result of my
employment with FBI, my duties include, but are not limited to, the investigation and
enforcement of Title 18, of the United States Code (U.S.C.). Iam an “investigative or law
enforcement officer of the United States” within the meaning defined in 18 U.S.C. §
2510(7), in that I am an agent of the United States authorized by law to conduct
investigations of, and make arrests for, federal offenses.

2. As part of my duties as an FBI agent, I investigate criminal violations relating
to Crime in Indian Country, to include Assault by Strangulation in violation of 18 U.S.C.
§§ 1151, 1153, and 113(a)(8), and Kidnapping in violation of 18 U.S.C. §§ 1151, 1153,
and 1201(a)(2). I have received training in the area of Violent Crime in Indian Country.

3. It is my belief that RANDY JAMES SHELL (DOB: **/**/1984), an
enrolled member of the Creek Nation, violated 18 U.S.C. §§ 1151, 1153, and 113(a)(8)
(Assault by Strangulation), and 18 U.S.C. §§ 1151, 1153, and 1201(a)(2) (Kidnapping), on
or about May 26, 2020, when he strangled and kidnapped his intimate partner, L.G., in

Indian Country in the Northern District of Oklahoma.

 
THE SOURCE OF MY INFORMATION AND GROUNDS FOR MY BELIEFS
ARE AS FOLLOWS:

 

4, On or about May 26, 2020, at approximately 12:25 am., Tulsa Police
Officers responded to a report of domestic assault in progress at 3019 South Norwood
Avenue, Tulsa, Oklahoma 74114 which is within the boundaries of the recently determined
Creek Nation reservation in the Northern District of Oklahoma. Upon arrival, the first
officer on the scene made contact with the victim’s mother, M.M. M.M. led the officer to
her apartment. She told the officer her daughter, L.G., was being beaten up by L.G.’s
boyfriend, Randy SHELL.

5. The Tulsa Police officer found SHELL and L.G. in the back bedroom. The
door was shut and barricaded. The officer announced that he was a Tulsa Police officer.
He then told SHELL to open the door and come out and talk. SHELL refused. The officer
confirmed that L.G. was in the bedroom, and then told SHELL to let her come out of the
room. SHELL refused. The officer began to hear noises that caused him to believe L.G.
was in distress. He forced open the door to the bedroom and came into contact with SHELL
who was trying to hold the door closed. The officer grabbed SHELL around the shoulders
and upper torso. SHELL fought the officer. A second officer arrived and told SHELL to
comply or he would be tased. SHELL kept fighting. The second officer tased SHELL with
little effect. SHELL continued to fight the officers until an additional officer arrived and
they were able to handcuff SHELL. The officers then stood SHELL up and tried to put
him in a corner. He kept trying to fight the officers and tried to head butt and kick a third
officer. One of the kicks did hit the officer in the leg, but it did not cause injury. Officers

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took SHELL to the ground again and kept him there until he calmed down enough to be
taken to jail.

6. The first responding officer took statements from L.G. and M.M. after
SHELL was arrested. L.G. told the officer that during the day of May 25, 2020, SHELL
and L.G. were hanging out together at the apartment. SHELL was drinking most of the day.
They ate dinner and then SHELL tried to convince L.G. to go out. L.G. told SHELL she
was not leaving. SHELL then tried to take L.G.’s car keys. L.G. refused to give the keys
to SHELL. SHELL grew violent. SHELL grabbed L.G., pushed her against the wall, and
strangled her by putting his hands around her neck until she blacked out and urinated
herself.

7. L.G. said she regained consciousness and witnessed SHELL grab M.M.’s
small dog and abuse it. SHELL shook the dog violently, beat it, and threw the dog against
the wall/door. SHELL then walked out of the apartment for a few minutes. While outside,
L.G. and M.M. locked the door.

8. L.G. told the officer that SHELL returned and kicked in the front door.
SHELL walked inside, grabbed L.G. and pulled her to into a bedroom in the home. SHELL
closed and barricaded the door. SHELL then proceeded to strangle L.G. again. L.G. called
out for MM to call 911. L.G. was held in the room against her will until the Tulsa Police
officers arrived.

9, SHELL is an enrolled member of the Creek Nation.

 
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RELEVANT STATUTES

18 U.S.C. § 1151 provides:

Except as otherwise provided in sections 1154 and 1156 of this
title, the term “Indian country”, as used in this chapter, means
(a) all land within the limits of any Indian reservation under the
jurisdiction of the United States Government, notwithstanding
the issuance of any patent, and, including rights-of-way
running through the reservation, (b) all dependent Indian
communities within the borders of the United States whether
within the original or subsequently acquired territory thereof,
and whether within or without the limits of a state, and (c) all
Indian allotments, the Indian titles to which have not been
extinguished, including rights-of-way running through the
same.

18 U.S.C. § 1153(a) provides:
Any Indian who commits against the person or property of

another Indian or other person any of the following offenses,
namely, murder, manslaughter, kidnapping, maiming, a felony
under chapter 109A, incest, a felony assault under section 113,
an assault against an individual who has not attained the age of
16 years, felony child abuse or neglect, arson, burglary,
robbery, and a felony under section 661 of this title within the
Indian country, shall be subject to the same law and penalties
as all other persons committing any of the above offenses,
within the exclusive jurisdiction of the United States.

18 U.S.C. § 113(a)(8) provides:

(a) Whoever, within the special maritime and territorial
jurisdiction of the United States, is guilty of an assault shall be
punished as follows:

(8) Assault of a spouse, intimate partner, or dating partner, by
strangling, suffocating, or attempting to strangle or suffocate,
by a fine under this title, imprisonment for not more than 10
years, or both.

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13. 18U,S.C. § 1201 provides:
(a) Whoever unlawfully seizes, confines, inveigles, decoys,
kidnaps, abducts, or carries away and holds for ransom or

reward or otherwise any person, except in the case of a minor
by the parent thereof, when-

(2) any such act against the person is done within the special
maritime and territorial jurisdiction of the United States.

CONCLUSION
15. | Based on the information set forth in this affidavit, I submit there is probable
cause to believe that RANDY JAMES SHELL has violated 18 U.S.C. §§ 1151, 1153,
113(a)(8), and 1201(a)(2) in Indian Country in Tulsa Oklahoma, Oklahoma, in the

Northern District of Oklahoma.

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CHRISTOPHER MCCARTHY
SPECIAL AGENT

FEDERAL BUREAU OF INVESTIGATION

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Subscribed and sworn t 7th day of July, 2020.

PAUL NE — Ly
TATES MAGISTRATE JUDGE

ERN DISTRICT OF OKLAHOMA

  
 
 
 

 

 
